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UN|TED STATES DlSTR|CT COURT
MlDDLE DlSTR|CT OF FLORIDA

JACKSONV|LLE D|V|S|ON
ANTT| PORKKA,
Plalntiff,
vs. Case No.; 3:17-cv-245-J-25JRK
UN|VERS|TY OF SOUTH FLOR|DA
BOARD OF TRUSTEES,
Defendant.

 

ORDER

 

TH|S CAUSE is before the Court upon Defendant University of South
F|orida Board of Trustees’ (USF) l\/lotion to Dismiss P|aintiff’s Amended
Complaint (Dkt. 16), Plaintiff Antti Porkka’s (Porkka) Response in
Opposition (Dkt. 55), USF’s Notice of Filing Supplementa_l Authority (Dkt.
124), Porkka’s Response (Dkt. 127), USF’s Rep|y in Support of Nlotion to.
Dismiss (Dkt. 152), and Porkka’s Sur-Rep|y in Opposition (Dkt. 157).

|. Background

P|aintiff Antti Porkka (Porkka), a citizen of Finland, brings this
copyright infringement action against Defendant University of South F|orida
Board of Trustees (USF) for alleged violations of the Copyright Act, ‘l7

U.S.C. § 101 et seq., based on USF’s alleged infringement of |Vlr. Porkka’s

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copyright in his artwork, the “H" Logo, entitled “Hansel” (Count |); and for
vicarious copyright infringement against Defendants, as members of the
Covering F|orida Consortium (Count ||) (Dkt. 9).

l|. Standard

A motion to dismiss that asserts Eleventh Amendment immunity
presents a challenge to the subject matter jurisdiction of the court.
Seaborn v. F/orida, 143 F.3d 1405, 1407 (11th Cir. 1998). A Ru|e 12(b)(1)
motion to dismiss for lack of subject matterjurisdiction may be based on
facial or factual grounds. Morrison v. Amway Corp., 323 F.3d 920, 924-25
& n.5 (11th cir. 2003).

“Facia| attacks challenge subject matter jurisdiction based on the
allegations in the complaint, and the district court takes the allegations as
true in deciding Whether to grant the motion.” ld. |n contrast, “[t`jactua|
attacks challenge subject matterjurisdiction in fact, irrespective of the
pleadings” and the court “may consider extrinsic evidence such as
testimony and affidavits." ld.

l||. Analysis

|n its motion, USF claims that as an instrumentality of the State of

F|orida, this Court lacks subject matterjurisdiction based on Eleventh

Amendment immunity (Dkt. 16).

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|Vlr. Porkka responds that USF does not qualify as an arm of the state
for Eleventh Amendment immunity to app|y. A|ternative|y, lV|r. Porkka
asserts that this Court has jurisdiction because he is entitled to pursue
prospective injunctive relief pursuant to the doctrine of Ex parte Young, 209
U.S. 123 (1908).

|n addition, |Vlr. Porkka contends that he may seek monetary
damages for copyright infringement under the Due Process C|ause of the
Fourteenth Amendment because no post-deprivation process exists to
remedy the alleged harm (Dkt. 55).

Under the Eleventh Amendment, federal courts are barred from
entertaining suits against states. Maynard v. Bd. of Regents, 342 F.3d
1281, 1287 & n.8 (11th Cir. 2003) (citing U.S. Const. amend. X|.). This
Eleventh Amendment immunity extends to arms of the state. Miccosukee
Tribe of lndians of Fla. v. Fla. State Athletic Comm’n, 226 F.3d 1226, 1231-
32 (11th Cir. 2000).

Courts in this Circuit have determined that USF is an arm of the state
entitled to immunity under the Eleventh Amendment See, e.g., Maynard,
342 F.3d at 1287-88; Debose v. Univ. of S. Fla., 178 F. Supp. 3d 1258,
1267 (l\/l.D. Fla. 2016); Baker v. Univ. Med. Serv. Ass’n, /nc., No. 8:16-cv-
2978-T-30|V|AP, 2016 WL 7385811, at *2 (|Vl.D. Fla. Dec. 21, 2016)

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(unpub|ished); Saavedra v. USF Bd. of Trs., No. 8:10-cv-1935-T-17TGW,
2011 WL 1742018, at *2-3 (lV|.D. Fla. lV|ay 6, 2011) (unpub|ished); Dismuke
v. Univ. of S. Fla. Bd. of Trs., No. 8:05-cv-340-T-17-TB|V|, 2006 WL
166547, at *3-4 (|Vl.D. Fla. Jan. 23, 2006) (unpub|ished); Bo/es v. Gibbons,
694 F. Supp. 849, 850 (|Vl.D. Fla. 1988). Eleventh Amendment immunity,
therefore, generally applies to USF.

lV|r. Porkka argues that USF’s conduct-marketing insurance policies
on behalf of the U.S. Department of Hea|th and Human Services (HHS) to
the general public-exceeded its enumerated powers and duties, and
therefore, Eleventh Amendment immunity does not apply (Dkts. 55; 133).

“F|orida defines the USF Board to be a part of the state government
. . . lists USF as a ‘[s]tate university’ . . . [and] declares that the ‘boards of
trustees [of state universities] are a part of the executive branch of state
government.”’ Univ. of S. Fla. Bd. of Trs. v. CoMentis, /nc., 861 F.3d 1234,
1235 (11th Cir. 2017).(quoting Fla. Stat. §§ 1000.21(6)(d), 1001.71(3)).

Pursuant to the F|orida Constitution, the purpose of the state
university system is to provide a “pub|ic service for the benefit of F|orida’s
citizens, their communities and economies.” Fla. Const. art. |X, § 7(a).

USF’s stated mission for its Co|lege of Pub|ic Hea|th “is to provide

excellence in public health education, leadership, advocacy, research and

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service . . . and to deliver enhanced health and Wel|-being to all humankind
through collaborative partnerships With researchers, educators, health
professionals and administrators." (Dkts. 9, ex. 3; 130, ex. 2, p. 3). As
alleged, USF’s conduct related to its health insurance program is not
inconsistent with its stated purpose (Dkts. 9, 130).

Further, the State of F|orida controls USF through its board of
trustees, Who are governed by a statewide Board of Governors of the state
university system who “estab|ish the powers and duties of the boards of
trustees." See Fla. Const. art. |X, § 7; Fla. Bd. of Governors Reg. 1.001(1).1

Next, |Vlr. Porkka asserts that USF received its funds for the conduct
at issue from HHS, not the State of F|orida (Dkt. 55, pp. 6-7).

USF is funded through the state budget process; therefore, “the State
of F|orida funds USF." See CoMentis, 861 F.3d at 1236 (citing Fla. Stat.
§§ 1001.705, 1001.706(4); Fla. Bd. of Governors Reg. 1.001(6)); Harden v.
Adams, 760 F.2d 1158, 1163 (11th Cir. 1985) (“Where the budget of an
entity is submitted to the state for approva|, this suggests that the entity is

an agency of the state.”).

 

1 The Court takes judicial notice of the State University System of F|orida
Board of Governors Regu|ation 1.001 and USF’s public records (Dkts. 129; 133,
ex. 1).

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“Not only does the state legislature fund the USF’s budget . . . the
Board of Governors secures a comprehensive general liability insurance for
state universities and the boards of trustees must maintain coverage under
the State Risk |Vlanagement Trust Fund." CoMentis, 861 F.3d at 1236-37
(interna| citations omitted); see Fla. Stat. §§ 284.30, 1001.72(2),

1001 .706(4).

Judgments against an agency of the state are assumed by the state
through its risk management trust fund. Miccosukee Tribe of indians of
Fla., 226 F.3d at 1234; Saavedra, 2011 WL 1742018, at *2 (“Any award of
damages against Defendant [USF Board of Trustees] Would come from the
State of Florida.”). Thus, the state is responsible for any judgment against
USF and its source of funding does not change its Eleventh Amendment
immunity,

Congress may, however, abrogate a state’s Eleventh Amendment
immunity. Nat’/ Ass’n of Bds. of Pharm. v. Bd. of Regents, 633 F.3d 1297,
1312 (11th Cir. 2011) (citing Seminole Tribe of F/a. v. Florida, 517 U.S. 44,
55 (1996)). Notwithstanding, the Eleventh Circuit has held that Congress
may not abrogate a state’s Eleventh Amendment immunity from copyright
liability. ld. at 1315 (citations omitted). Nor has immunity been waived. See

Schop/er v. B/iss, 903 F.2d 1373, 1379 (11th Cir. 1990) (“This court has

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held that section 768.28 does not waive F|orida’s Eleventh Amendment
lmmunity.”).

|Vlr. Porkka raises an alternative argument for the first time in his
response that the Court has jurisdiction over his claim because he may
seek monetary damages for copyright infringement under the Due Process
C|ause of the Fourteenth Amendment as no post-deprivation process exists
to remedy the alleged harm (Dkt. 55, p. 2).

“A copyright is a property interest protected under the Due Process
Clause.” Nat’l Ass’n of Bds. of Pharm., 633 F.3d at 1317. Yet, |Vlr. Porkka
has not alleged that he was “deprived of a constitutional|y-protected
property interest as a result of state action” in his Amended Comp|aint.

See id.; Nett/eman v. Fla. Atl. Univ. Bd. of Trs., 228 F. Supp. 3d 1303,
1312-13 (S.D. Fla. 2017).

The Court therefore declines to address an argument |Vlr. Porkka has v
raised for the first time in his response See Eiras v. Florida, 239 F. Supp.
3d 1331, 1342 (|Vl.D. Fla. 2017). Even if the Court were to consider this
argument, Eleventh Amendment immunity bars |Vlr. Porkka’s due process
claim. See Uberoi v. Supreme Court of Florida, 819 F.3d 1311, 1313-14

(11th cir. 2016).

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Likewise, lVlr. Porkka’s claim for prospective injunctive relief pursuant
to Ex parte Young is inapplicable as |Vlr. Porkka’s allegations are against
USF and not any individual officers or members of its board. See P.R.
Aqueduct & SewerAuth. v. Metca/f & Eddy, /nc., 506 U.S. 139, 146 (1993)
(conc|uding that the Ex parte Young doctrine “has no application in suits
against the States and their agencies”); Uberoi, 819 F.3d at 1314 (deciding
that the Ex parte Young exception to Eleventh Amendment immunity did
not apply because plaintiff did not sue any individual state officers); cf. Nat'/
Ass’n of Bds. of Pharm., 633 F.3d at 1303, 1308, 1311-12 (discussing that
injunctive relief is permissible against state officers, such as members of a
university’s board and university officials).

|n conclusion, USF is entitled to Eleventh Amendment immunity.
While Congress may abrogate a state’s Eleventh Amendment immunity, it
has not validly abrogated a state’s Eleventh Amendment immunity from
copyright claims. Nor has copyright liability been determined to abrogate
state Eleventh Amendment immunity under the Due Process C|ause of the

Fourteenth Amendment

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Consequent|y, |Vlr. Porkka’s copyright infringement claim is barred.
Accordin'g|y, it is

ORDERED:

Defendant University of South F|orida Board of Trustees’ lV|otion .to
Dismiss Plaintiff’s Amended Comp|aint (Dkt. 16) is GRANTED. The Clerk
is directed to close this case.

DONE AND ORDERED at Jacksonvi|le, F|orida, this §§ day of

February, 2018.

 

HEN§EY LY<. ADAMS, JR. f

United States District Judge

Copies to: Counse| of Record

